

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-67,453-01






DEANNDRA LAVONNE DARFOUR, Relator


v.


HARRIS DISTRICT CLERK, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 974123 IN THE 179th JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, she contends that on February 5, 2007, she filed an application for
a writ of habeas corpus in the 179th Judicial District Court of Harris County, that more than 35 days
have elapsed, and that the application has not yet been forwarded to this Court.  


	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Harris County.  This application for leave to file a writ of mandamus
shall be held in abeyance until the respondent has submitted the appropriate response.  Such response
shall be submitted within 30 days of the date of this order.



Filed:  May 16, 2007

Do not publish	


